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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

 DEBRA MONSERRATE, KELLY BIRCHELL,
 SHAWN CRAFT, VIVIAN EDWARDS,
 BILL FABER, REID MAYBECK,
 SUSAN O’HEARN, FARRELL PRUDENT,
 and PAMELA WARD
 on behalf of themselves and others
 similarly situated

                    Plaintiffs,                                   CASE NO.: 6:14-cv-149-Orl-37GJK

 v.                                                               FLSA COLLECTIVE ACTION

 HARTFORD FIRE INSURANCE COMPANY,
 a Foreign for Profit Corporation.

                    Defendants.
                                                              /

                 PLAINTIFFS’ MOTION FOR CONDITIONAL CERTIFICATION
                    OF COLLECTIVE CLASS AND ISSUANCE OF NOTICE
                      AND INCORPORATED MEMORANDUM OF LAW

            Plaintiffs move this honorable Court for an ORDER: (1) conditionally certifying this

 collective class of “Analysts” as a National class; (2) requiring the Defendant to produce the

 names, addresses, and telephone numbers of each putative class member; and (3) compelling

 notice of this action be sent to each similarly situated person employed by Defendant within the

 preceding three years or presently employed in this capacity.

                                                BACKGROUND

            Plaintiffs, DEBRA MONSERRATE, KELLY BIRCHELL, SHAWN CRAFT, VIVIAN

 EDWARDS, BILL FABER, REID MAYBECK, SUSAN O’HEARN, and, FARRELL

 PRUDENT, and PAM WARD1 (“Plaintiffs”), filed their collective action complaint alleging that

 Defendant, HARTFORD FIRE INSURANCE COMPANY, (“Hartford”) misclassified the
 1
     Pam Ward was voluntarily dismissed from this action. See Order on same. (Doc. #58)

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 Analyst position as exempt from the overtime wage provisions of the Fair Labor Standards Act

 (“FLSA”)2. Plaintiffs filed their complaint on behalf of all other Analysts, contending that they

 are similarly situated and deserving of national class status. Plaintiffs allege they did not fit

 within any exemption codified in the FLSA because they did not have the discretion to make

 decisions and did not supervise and manage two (2) or more employees. All of the Plaintiff’s and

 Opt-In Plaintiffs worked for Defendant as “Analysts3” and allege they are similarly situated such

 that national class certification is warranted.

         At the beginning of this Action, the parties submitted their Case Management Report

 (“CMR”) requesting a bi-phasic discovery period and agreeing to a deadline of April 17, 2015,

 for Plaintiffs to file their Motion for Conditional Certification. (Doc. #83) This Court issued its

 Case Management and Scheduling Order (“CMSO”) but did not address the bi-phasic discovery

 period or the deadline for Plaintiffs to file their Motion for Conditional Certification. (Doc# 113)

 Pursuant to a 3.01(g) conference between the undersigned counsel and counsel for Defendant,

 Defendant’s counsel advised Plaintiff’s counsel that Defendant opposes this Motion due to is

 “untimeliness.” However, this Motion is not untimely. It is clearly filed by the deadline the

 parties agreed to in their CMR; it was not addressed in the Court’s CMSO; and, there is nothing

 that requires Plaintiffs to file a Motion for Conditional Certification on or before a deadline for

 Motion to Amend/Add Parties.

 2
   There are also five (5) other Analysts currently in AAA arbitration on these same claims due to releases they
 signed with Defendant, requiring them to arbitrate these claims.
 3
   The term “Analyst” means all persons who have been, are, or in the future will be employed by the Defendant in
 any job whose title is or was referred to by any of the following titles, and employees who performed substantially
 the same work as employees with those titles (discovery may reveal additional titles and employees that should be
 included): Ability Analyst Segment I; Ability Analyst Segment II; Ability Analyst Segment III; Ability Analyst
 Segment IV; Ability Analyst IV; LTD Sr. Ability Analyst; Segment II Claims Analyst; LTD Claims Examiner III;
 LTD Segment II Analyst; Senior Ability Analyst; Senior Ability Analyst IV; Senior Ability Analyst II; CAR I
 Analyst; CAR Specialist Analyst; Short Term Disability Analyst I, Short Term Disability Analyst II, Short Term
 Disability Analyst III, Short Term Disability Analyst IV, Long Term Disability Analyst I, Long Term Disability
 Analyst II, Long Term Disability Analyst III, Long Term Disability Analyst IV, Long Term Disability Analyst V,
 Claims Examiner I, Claims Examiner II, Claims Examiner III.

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    1. The Plaintiffs allege the following key facts: Defendant HARTFORD FIRE

 INSURANCE COMPANY, is a Foreign for Profit Corporation, operating a business located,

 among other locations throughout the United States; in Orange County, Florida. Defendant is an

 employer as defined by 29 U.S.C. § 203(d). Defendant is subject to the provisions of 29 U.S.C.

 § 216, where Plaintiffs were employed.

    2. As further explained below, Plaintiff, and Opt-In Plaintiffs, worked hours and performed

 performed job duties which were structured and determined by Defendant. In fact, many of

 Plaintiffs’ duties were clerical in nature and controlled by Defendant’s policies and procedures.

 Plaintiffs worked within procedures closely prescribed limits set by Defendant to determine

 correct responses to inquiries and circumstances presented by claimants. Plaintiffs had specific

 caps of authority to work within; Plaintiffs did not visit locations related to the disability claims;

 Plaintiffs never negotiated settlements with claimants; and, Plaintiffs did not have any

 involvement with litigation. Plaintiffs also used Form letters. These facts are further set forth

 herein and are detailed in the Deposition Transcripts, Affidavits, and Answers to Court

 Interrogatories.

    3. All of these Analysts worked beyond the expected forty hour work week, and were not

 paid overtime.

    4. On January 29, 2014, Plaintiffs filed a Collective Action Complaint and Demand for Jury

 Trial alleging that Defendant violated the FLSA by failing to pay Plaintiffs, and all others

 similarly situated, overtime compensation.

    5. The Plaintiffs have complied with all pleading requirements to assert a collective action

 under 29 U.S.C. §216 and 29 U.S.C. §256.




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     6. Plaintiffs allege that Defendant has willfully misclassified the Analyst positions as

 exempt in violation of the FLSA, 29 U.S.C. §§ 206 and 207 and failed to pay overtime

     7. The Collective Class should also include all Analysts who are or were employed with

 Defendant, within the past three years preceding this lawsuit to the day of the trial in this

 action, and any additional opt-ins to this action pursuant to FLSA 29 U.S.C. Section §216(b)

 who have worked in excess of forty (40) hours per week and were not paid overtime wages.

     8. Through their deposition testimony, Answers to Court Interrogatories, and Affidavits,

 Plaintiffs and Opt-In Plaintiffs demonstrate that their claims are typical of the claims of other

 former and currently employed Analysts of Defendant and are typical of the claims of all

 members of the collective class. The Affidavits also demonstrate that there are other Analysts

 within Florida and in other states that are similarly situated and would be interested in being

 notified of their right to opt-in to this action.

     9. Conditional certification of the national class of Analysts is warranted pursuant to §

 216(b) of the FLSA.

     10. With the size of Hartford, the class of Analysts is estimated to be well in excess of

 1,000 employees.

     11. Accordingly, it is imperative that this Court approve notice to the class members

 informing them of the existence of this action because the statute of limitations continues to

 run as to each and every person who is, or who might be, a member of the proposed class,

 and they are entitled to notification of the pendency of this action and of their right to consent

 to becoming a party to this action. 29 U.S.C. § 216(b)




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     12. Courts across the nation typically grant conditional certification using a very lenient

 standard, which only requires that plaintiffs show by a reasonable basis that they are similarly

 situated. Haynes v. Singer Co., 696 F.2d 884, 887 (11th Cir. 1983).

     13. Simply put, Plaintiffs and the Opt-In Plaintiffs, and all similarly situated Analysts, are

 without a doubt similarly situated, subjected to a common, uniform scheme by Defendant of

 misclassifying them as exempt and are owed for overtime wages. The individual members of the

 class cannot be completely identified and notified of their right to join this action without access

 to Defendant’s records for the information requested in paragraph (c) below, and within this

 Court permitting the notification to all of these individuals.

          WHEREFORE, for the reasons more fully discussed in the incorporated Memorandum

 in Support, Plaintiffs request this Court to:

          a)       recognize this matter as a collective action under §216(b) of the FLSA and

 conditionally certify this as a National Collective Class;

          b)       enter an Order permitting notification to all similarly situated individuals of the

 pendency of this action and of their statutory right to opt-in to this action and to become a party;

          c)       enter an Order requiring Defendant to produce the names, addresses, telephone

 numbers and emails of all former and present Analysts4 as well as those who were employed

 within the 3 years prior to the filing of the Complaint up to trial;

          d)       enter an Order permitting the proposed “Notice to Consent to Join” form be sent

 to all similarly situated individuals to complete, sign, and file with the Court within sixty (60)

 days of receipt of the list of all similarly situated individuals from Defendant, and appoint

 4
   Defendant has used shifting titles for these positions and has changed the names of these positions; however,
 Plaintiffs believe the positions set forth in Footnote #3 cover all of the positions of individuals similarly situated and
 who were and/are owed overtime given the different titles encompassed by the Plaintiffs and Opt-in Plaintiffs in this
 action, and the deposition testimony that these titles have been continuously shifted by Defendant despite the job
 duties and responsibilities staying the same.

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 LYTLE & BARSZCZ as the Class Representative5 with authority to negotiate on behalf

 of the class.6

                                        MEMORANDUM OF LAW

        Pursuant to the Fair Labor Standards Act, a party plaintiff may maintain an action on

 behalf of himself or herself and those similarly situated to him or her.

         …an action to recover liability … may be maintained against any employer … by any

         one or more employees for and on behalf of … themselves and other employees

         similarly situated. No employee shall be a party plaintiff to any such action unless

         she gives her consent in writing to become such party and such consent is filed

         with the court in which such action is brought.

         29 U.S.C. § 216(b) (emphasis added)

         Hartford Fire Insurance is an extremely large insurance company that maintains offices

 throughout the United States and in many International locations. The Defendant has used

 shifting titles for positions and has changed the names of positions of similarly situated analysts.

 The term “Analyst” means all persons who have been, are, or in the future will be employed by

 the Defendant in any job whose title is or was referred to by any of the following titles, and

 employees who performed substantially the same work as employees with those titles including

 but not limited to: Short Term Disability Analyst I, Short Term Disability Analyst II, Short Term

 Disability Analyst III, Short Term Disability Analyst IV, Long Term Disability Analyst I, Long

 Term Disability Analyst II, Long Term Disability Analyst III, Long Term Disability Analyst IV,


 5
   See Espanol v. Avis Budget Car Rental, LLC, 2011 U.S. Dist. LEXIS 120485, 2011 WL 4947787, 4-5 (M.D. Fla.
 Oct. 18, 2011), in which the Honorable James Moody granted collective certification to a class of Shift Managers
 and appointed Bernar Espanol as the Class Representative to facilitate negotiations and enter into a proposed
 settlement on behalf of the class opt-ins.
 6
   The Court will be asked to approve any settlement under Lynn’s Food Stores v. United States, 679 F.2d 1350 (11th
 Cir. 1982) and attorney’s fees. See Torrisi v. Tucson Elc. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993) (attorneys’
 fees are recoverable as a proportion of the class recovery under FLSA cases).

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 Long Term Disability Analyst V, Claims Examiner I, claims Examiner II, and Claims Examiner

 III. All Plaintiffs duties were clerical in nature and included Initial Claims setup, telephonic

 interviews with claimants, conduct interviews to verify medical information, applied procedures

 developed by the Defendant within closely prescribed limits set by the Defendant to determine

 correct responses to inquiries and circumstances presented by Defendants long term disability

 claimant.(Pltfs Ct ROG’s pg. 2 ¶ 4) Plaintiff were expected to work a minimum of 40 hours per

 week and were required to be present during the Defendant set “core hours” of 9:00 a.m. to 3:00

 p.m. (Harris Depo. Pg.47 l. 24; Fernandez Depo. Pg.49 ll. 23-25; Elkins Depo. Pg. 35 l. 15; Craft

 Depo. Pg. 44 ll. 7-10; Rudgers Depo. Pg. 59 ll. 9-12; Faber Depo p. 35, ll. 17-18; p. 36, ll. 23-25; p.

 41, ll. 20-23, Smith Depo. p. 11, ll. 16-25; Monserrate Depo. p. 39, ll. 3-7) Plaintiffs were offered

 the opportunity alter their work hour prior to and after the “core hours” as long as the “core hours”

 were included in their work day and they met the 40 hour minimum requirement. (Harris Depo. Pg.

 48 ll. 4-5, Fernandez Depo. Pg. 49 ll. 23-25, Elkins Depo, Pg. 35 l. 15, Craft Depo. Pg. 44 ll. 7-10,

 Rudgers Depo. Pg. 59 ll. 9-12) All Plaintiffs were misclassified as exempt by the Defendant and

 worked in excess of 40 hours per week to included weekends, during which time Plaintiff’s only

 received compensation for the standard 40 hour work week. (Court Interrogatories pg. 2 ¶ 4) (Harris

 Depo. Pg. 54 ll. 24-25; Fernandez Depo. Pg. 49 ll. 23-25; Elkins Depo, Pg. 38 ll. 19-21; Craft Depo.

 Pg. 47 ll. 11-15; Rudgers Depo. Pg. 59 ll. 9-12; Faber Depo. Faber depo p. 10, ll. 8-25; p. 11, ll. 1-

 25; Smith Depo, p. 11, ll. 16-25; Monserrate Depo. p. 70, ll. 6-23,) Plaintiffs were required to

 operate under strict policies and procedures set forth by the Defendant and utilized scripted question

 and predetermined form letters to adhere to the set policies and procedures. (Harris Depo. Pg. 54 ll.

 24-25; Fernandez Depo. Pg. 49 ll. 23-25; Elkins Depo, Pg. 38 ll.19-21; Craft Depo. Pg. 47 ll. 11-15;

 Rudgers Depo. Pg. 59 ll. 9-12; Faber Depo. p. 45, ll. 18-25; p. 46, ll. 1-2; p. 46, ll. 20-22; Smith



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 Depo p. 23, ll. 1-7; Monserrate Depo. p. 77, ll. 21-25, p. 78 ll. 1-6) Each Plaintiff utilized the same

 routine and at no time during their work did the Plaintiffs exercise any decision making authority.

 All necessary decisions with regard to the settlement of claims would be referred to the “team

 leader” or “case manager”. (Harris Depo. Pg.35 ll. 10-11; Fernandez Depo. Pg.; Elkins Depo, Pg.28

 ll. 6-8; Craft Depo. Pg.30 ll. 17-21; Rudgers Depo. Pg. 30 ll. 14-15; Monserrate Depo. p. 41, ll. 5-11

 p. 113, ll. 20-23) Each Plaintiff was provided a strict dollar amount to include a high number and a

 low number to which they were instructed to offer to the claimant for settlement. (Harris Depo.

 Pg.36 ll.8-9; Fernandez Depo. Pg.; Elkins Depo; Pg. 22 ll.6-7; Monserrate Depo. p. 41, ll. 5-11 p.

 113 ll. 20-23) At no time during the Plaintiff employment were they ever in a supervisory role nor

 were they involved with litigation.

       Although Plaintiffs and those similarly situated, were labeled as exempt, that classification

 is incorrect. The Analysts were limited in their discretion to make decisions of significance and

 did not manage two (2) or more employees.

       Plaintiffs have all alleged working hours beyond the forty (40) hour work week; all were

 paid a salary during all relevant time periods; and, all were treated as exempt employees, when

 they were not. As such, Defendant’s practices and policies violate the FLSA’s overtime

 provisions, particularly 29 U.S.C. § 207, which requires an employer to pay its employees for

 any hours worked in excess of forty (40) in a workweek not less than one and one-half times the

 regular rate at which he/she is employed. There are similarly situated employees in the state of

 Florida and nationwide that should receive notification. Therefore, Plaintiffs seek this Court’s

 authorization to facilitate notice to Defendant’s current and former “Analysts” who were and/or

 are subjected to the illegal practices described above and below at any time within the last three

 years and in the present.



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 I.      Standards for Collective Action Conditional Certification

         A.     Authority to Send Class Notice and Burden of Proof

         Under 29 U.S.C. § 216(b) of the FLSA, an employee belonging to a similarly situated

 class of plaintiffs must “opt-in” to the class by filing a written consent with the Court in order to

 be bound by the outcome of the case. Without signing and filing such an express consent,

 employees are not bound by the outcome of the litigation. 29 U.S.C. § 216(b)

         In Hoffman-La Roche, Inc. v. Sperling, 110 S. Ct. 482, 486 (1989), the United States

 Supreme Court held that trial courts have the authority to compel defendant-employers to

 provide names and addresses of potential plaintiffs and that this authority also includes sending

 court-authorized consent forms to potential plaintiffs. Id; see also Dybach v. State of Florida,

 Department of Corrections, 942 F.2d 1562 (11th Cir. 1991) (holding that the district court had

 authority to issue an order requiring notice to “similarly situated” employees of the defendant

 affording them the opportunity to “opt-in.”).

         Court authorization of notice serves the legitimate goal of avoiding a multiplicity of

 duplicative suits and setting cutoff dates to expedite disposition of the action. Hoffman-LaRoche,

 supra at 487. In the absence of a court-authorized notification to all similarly situated employees,

 those employees would in all likelihood (i) not receive timely, complete and accurate

 information as to the pendency of this action, (ii) lack meaningful access to the court and (iii)

 have no practical or efficient method of vindicating their rights. Riojas v. Seal Produce, Inc., 82

 F.R.D. 613 (S.D. Tex. 1979) (finding that notice was required through notions of fundamental

 fairness).




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        B.      The Eleventh Circuit’s Two-Tiered Approach

        In Hipp v. Liberty National Life Insurance Co., 252 F.3d 1208, 1214–15 (11th Cir. 2001),

 the Eleventh Circuit addressed the standard for permitting court-supervised collective actions.

 While Hipp was an action maintained under the Age Discrimination in Employment Act, the

 Hipp analysis is relevant to FLSA collective actions because “[p]laintiffs wishing to sue as a

 class under ADEA must utilize the opt-in class mechanism provided in 29 U.S.C. § 216(b)

 instead of the opt-out class procedure provided in Fed. R. Civ. P. 23.” Hipp, supra at 1216. In

 that case, the 11th Circuit outlined a two-tiered procedure that district courts should use in

 certifying collective actions under Section 216(b), stating:

        The first determination is made at the so-called “notice stage.” At the notice stage,
        the district court makes a decision – usually based only on the pleadings and any
        affidavits which have been submitted – whether notice of the action should be
        given to potential class members. Because the court has minimal evidence, this
        determination is made using a fairly lenient standard, and typically results in
        “conditional certification” of a representative class. If the district court
        “conditionally certifies” the class, putative class members are given notice and the
        opportunity to “opt-in.”

        The action proceeds as a representative action throughout discovery. The second
        determination is typically precipitated by a motion for “decertification” by the
        defendant usually filed after discovery is largely complete and the matter is ready for
        trial. At this stage, the court has much more information on which to base its
        decision, and makes a factual determination on the similarly situated question. If the
        claimants are similarly situated, the district court allows the representative action to
        proceed to trial.

        Since the Hipp decision, the District Courts in the Eleventh Circuit have utilized this two-

 tiered approach See, e.g., Reed v. Mobile County Sch. Sys., 246 F. Supp. 2d 1227, 1230 (S.D.

 Ala. 2003); Barron v. Henry County Sch. Sys., 242 F. Supp. 2d 1096, 1102 (M.D. Ala. 2003);

 and, Stone v. First Union Corp., 216 F.R.D. 540, 544–46 (S.D. Fla. 2003). During this first step,

 the District Court may grant conditional certification if a plaintiff demonstrates a reasonable

 basis to believe that “(1) there are other employees of the Defendant who desire to opt-in and (2)

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 that these other employees are “similarly situated” with respect to their job requirements and

 with regard to their pay provisions.” Reyes v. AT&T Mobility, 801 F.Supp.2d 1350, 1355 (S.D.

 Fla. 2011), citing Dybach, supra, 942 F.2d at 1567-68; and, Morgan v. Family Dollar Stores,

 Inc., 551 F.3d 1233, 1260-61 (11th Cir. 2008). The burden on a Plaintiff at this point is very

 lenient. Usually at this step since discovery is not completed and the plaintiff has limited

 evidence to support the motion to certify the class, “the typical result is that the motion is

 granted.” Cameron-Grant v. Maxim Healthcare Servs., Inc., 347 F.3d 1240, 1243 (11th Cir.

 2003); see also Morgan, supra.

        In defining a “similarly situated class” pursuant to 29 U.S.C. §216(b), a plaintiff need

 only demonstrate that the defined class is comprised of representatives who are similarly situated

 to Plaintiffs with regard to Defendant’s payroll practices and record keeping requirements. See

 29 U.S.C. §216(b); see also Dybach, supra. There is no requirement of “strict symmetry” or

 “absolute identity;” rather, potential class members must meet only a “sufficiently similar”

 standard. Glass v. IDS Financial Services, Inc., 778 F. Supp. 1029, 1081 (D. Minn. 1991) (an

 allegation that a single decision, policy or plan precipitated the challenged action was sufficient

 to define the class). Plaintiffs have exceeded the standard in this case. Plaintiffs and the Opt-In

 Plaintiffs all allege nearly identical job duties, hours, lack of authority, lack of supervision of

 others and nearly identical employment history working as “Analysts.”

        In fact, Numerous courts have found putative class members to be similarly situated

 where they have only superficially different job titles or slightly different job duties. Holbrook v.

 Smith & Hawken, Ltd., 246 F.R.D. 103, 106 (D. Conn. 2007) (“The court need not find

 uniformity in each and every aspect of employment to determine a class of employees are

 similarly situated.”); See also Berger v. Cleveland Clinic Found., 2007 U.S. Dist. LEXIS 76593,



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 2007 WL 2902907, at *20–21 (N.D. Ohio Sept. 29, 2007) (finding that although most of the

 putative class members were classified as respiratory therapists and the plaintiff was classified as

 a respiratory technician they were all similarly situated because they all worked in the same

 department, had the same supervisor and their job duties overlapped). There is no dispute that the

 job titles for Hartford are uniform.

        C.      Common Scheme or Plan

        In determining whether to grant notice of a collective action, Courts also focus on

 whether plaintiffs were victims of a common scheme or plan that violated the law. Plaintiffs need

 not conclusively demonstrate that they and the other putative class members are, in fact,

 similarly situated. Rather, they must show that they “and potential plaintiffs together were

 victims of a common policy or plan that violated the law.” Rubery v. Buth Na-Bodhaige, Inc.,

 569 F. Supp. 2d 334 (W.D.N.Y. 2008); see also Scholtisek 229 F.R.D. 381, at 390 (“[w]hat is

 important is that these employees were allegedly subject to a common practice or scheme on

 [their employer’s] part”). Moreover, “it would be inappropriate … to require plaintiff to meet a

 more stringent standard than that typically applied at the early stages of litigation” before

 discovery is complete. Chowdhury v. Duane Reade, Inc., 2007 WL 2873929, at *3, 2007 U.S.

 Dist. LEXIS 73853 at *10-*11 (S.D.N.Y. 2007).

        D.      Sufficient Interest Requirement

        Also, when determining whether to grant a Motion for Class Notice, Courts typically do

 not require a high number of Opt-in Plaintiffs to have already joined the case. See e.g., Dietrich

 v. Liberty Square, 230 F.R.D. 574, 579 (N.D. Iowa 2005) (Two (2) affidavits provide sufficient

 factual basis for similarly situated inquiry); See also Beck v. Desoto Health and Rehab, Case




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 No.: 2:06-CV-226-FTM-34DNF, at Docs. 23, 34 (M.D. Fla. Jan. 24, 2004) (Granting Class

 Notice Motion with only one (1) Opt-in).

          By providing a total of nine (9) Plaintiffs, including five (5) Opt-ins, Plaintiffs have

 demonstrated a sufficient number of Opt-In Plaintiffs who are interested in joining this suit.7 In

 addition, Plaintiffs have stated that they believe that if other Analysts are provided notice of their

 right to opt-into this suit they will likely exercise their rights to opt-in. (See Affidavits of

 Antoinette Elkins, Amy Fernandez, Carmen Flores, Stephanie Francis, Nathan Rudgers, and

 Laura Smith.)

          Additionally, this Court does not need to strain to find that the Plaintiffs and the Opt-In

 Plaintiffs are similarly situated to all of the putative class they seek to certify. The Plaintiff’s

 Court Interrogatory Responses and Deposition transcripts show common factors warranting

 national class certification on behalf of Analysts which are: (1) all worked identical work

 schedules and were salaried exempt; 2) all were expected to work more than 40 hours each week,

 and often worked on weekends; 3) all were without decision-making authority; 4) all did not

 supervise 2 or more employees; 5) all worked hours beyond those on the schedule, either at

 home or at the office; 6) all were treated as exempt employees from the overtime wage

 provisions of the FLSA; 7) Many of Plaintiff’s duties were clerical in nature and controlled by

 Defendant’s policies and procedures.; 8) all performed the same routine tasks; 9) Plaintiff

 applied procedures developed by Defendant within closely prescribed limits set by Defendant to

 determine correct responses to inquiries and circumstances presented by Defendant’s long term

 disability claimants including but not limited to using form letters; 10) Plaintiff had specific




 7
   There are also 5 individuals represented by the undersigned who are similarly situated who are in arbitration due to
 releases they signed with Defendant.

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 caps of authority to work within, never negotiated settlements with claimants; and 11) did

 not have any involvement with litigation.

        Based upon the allegations in the Complaint and the above-referenced Deposition

 Transcripts, Answers to Court Interrogatories, and Affidavits, it is clear that this class of

 Analysts should be conditionally certified and that Court ordered notice be given to all putative

 class members.

        E.      Numerous Courts Have Granted Collective Actions in Similar Cases

        The recent case of Stuven v. Tex. De Braz. Tampa Corp., 2013 U.S. Dist. LEXIS 22240,

 2013WL 610651 (M.D. Fla. Feb. 19, 2013), is also highly instructive and factually important as

 to the threshold necessary to factually support the lenient standard necessary at this juncture to

 obtain conditional class certification. Other courts have also granted conditional certification in

 cases where the titles of plaintiffs and employees differed. See Lujan v. Cabana Mgmt., 2011WL

 317984, 2011 U.S. Dist. LEXIS 9542 (E.D.N.Y. Feb. 1, 2011) (granting conditional certification

 where the proposed putative class included “servers, hosts(esses), bartenders, bar-backs,

 busboys, runners, dishwashers, and other restaurant related tasks,” and both tipped and non-

 tipped employees); see also Realite v. Ark Restaurants Corp., 7 F. Supp. 2d 303, 306–07

 (S.D.N.Y. 1998) (granting conditional certification to employees at multiple restaurant locations,

 who collectively held positions as waiters, porters, dishwashers, cooks, back-waiters, bartenders,

 runners, pizza-makers, busboys, and security guards).

        In sum, Plaintiffs have submitted substantial evidence in support of their Motion to

 support their belief that they all performed the same job duties, that they all regularly worked in

 excess of forty hours per week and that Defendant had a practice of not paying its Analysts

 overtime compensation.



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        Allowing notification to this national putative class, which may exceed 1,000 class

 members, avoids multiple lawsuits where numerous employees have been harmed by the same

 violation. See Hoffman-LaRoche supra, 493 U.S. at 470.

 II.    The “Merits” of Plaintiff’s Claims are Not Considered at This Time

        Aside from a potentially specious timeliness argument by Defendant, Plaintiff anticipates

 Defendant will argue that notice should not proceed based upon the only possible defense it may

 have to this action – that Plaintiffs were properly classified as exempt employees pursuant to the

 FLSA. Although Plaintiff expects this defense will ultimately fail based upon the facts that will

 emerge during discovery, such an argument is not persuasive at this juncture. In this regard, at

 the “conditional certification” stage, courts do not weigh the merits of the underlying claims in

 determining whether potential opt-in plaintiffs may be “similarly situated.” See Kreher v. City of

 Atlanta, 2006 WL 739572, at *4 (N.D. Ga. Mar. 20, 2006), citing Young v. Cooper Cameron

 Corp., 229 F.R.D. 50, 54-55 (S.D.N.Y. 2005) (“The focus of [the conditional certification]

 inquiry is not whether there has been an actual violation of law, but rather on whether the

 proposed plaintiffs are “similarly situated under 29 U.S.C. § 216(b) with respect to their

 allegations that the law has been violated); see also Gjurovich v. Emmanuel’s Marketplace, Inc.,

 282 F. Supp. 2d 91, 96 (S.D.N.Y. 2003) (“Once the Plaintiff makes a colorable claim for relief,

 the only inquiry necessary is whether the potential plaintiffs to be notified are similarly situated

 to the named plaintiff…”).

        Again, the standard for conditional certification is lenient standard. See e.g. Kreher,

 supra at 4; Leuthold v. Destination America, 224 F.R.D. 462, 468 (N.D. Cal. 2004); Goldman v.

 Radioshack Corp., No. Civ.A. 2:03-CV-032, 2003 WL 21250571, at *8 (E.D. Pa. Apr. 16, 2003)

 (“A fact-specific inquiry is conducted only after discovery and a formal motion to decertify the



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 class is brought by the defendant.”); see also Felix De Asencio v. Tyson Foods, Inc., 130 F.Supp.

 2d 660, 663 (E.D. Pa. 2001) (“While this information [submitted by Defendant] may play a more

 significant role after discovery and during an analysis of the second and final similarly situated

 tier, Plaintiffs have advanced sufficient evidence to meet their low burden at this first tier of the

 similarly situated question.”).

         Even further discovery at this first notice stage is unnecessary for this Court to make a

 determination of similarly situated. See Grayson, 79 F.3d at 1099 (holding that a district court

 may, but is not required to hold an evidentiary hearing prior to making its section 216(b) decision

 particularly where the Defendant’s rights are not substantially affected) (emphasis added); see

 also Lloredo v. Radioshack Corp., 2005 WL 1156030, at *1 (S.D. Fla. May 12, 2005) (refusing

 to examine discovery in making its first stage similarly situated determination); see also

 Harrison v. Enterprise Rent-A-Car Co., 1998 WL 422169, 1998 U.S. Dist. LEXIS 13131, at *13

 (July 1, 1998) (holding that the fact that subsequent discovery may prove the original plaintiffs

 and the opt-in plaintiffs are not after all “similarly situated” does not defeat conditional class

 certification).

         Moreover, neither an examination of discovery nor an examination of Defendant’s

 defenses is necessary at this stage. See Pendlebury v. Starbucks Coffee Co., 2005 WL 84500

 (S.D. Fla. Jan. 3, 2005) (stating that a factual determination of the similarly situated question is

 not appropriate at this time because of the early stages of the litigation); see also Brown v. Money

 Tree Mortgage, Inc., 222 F.R.D. 676, 682 (D. Kan. 2004) (“[T]he court will examine the

 individual plaintiffs’ disparate factual and employment setting, as well as various defenses

 available to the defendant which appear to be individual to each plaintiff, during the ‘second

 stage’ analysis after the close of discovery.”); see also Goldman v. Radioshack Corp., 2003 WL



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 21250571, at *8 (E.D. Pa. Apr. 16, 2003) (“A fact-specific inquiry is conducted only after

 discovery and a formal motion to decertify the class is brought by the defendant.”).

        Moreover, discovery is not necessary because courts at this stage do not resolve factual

 disputes or make credibility determinations. See Scott v. Heartland Home Finance, 2006 WL

 1209813, at *3 (N.D. Ga. May 3, 2006) (citing Severtson v. Phillips Beverage Co., 141 F.R.D.

 276, 279 (D. Minn. 1992)); see also Camper v. Home Quality Mgmt., Inc., 200 F.R.D. 516, 520

 (D. Md. 2000) (“Factual disputes do not negate the appropriateness of court facilitated notice.”).

 In Scott, the court held that it was not appropriate for the court to address the merits of plaintiffs’

 claims or weigh evidence and thus refused to consider the Defendant’s arguments regarding the

 variation in specific job duties, locations, working hours, or the availability of various

 exemptions. Scott, 2006 WL 1209813, at *3 (citing Pendelbury, 2005 WL 84500, at *3 (factual

 matters regarding the applicability of exemptions to employees not appropriate at notice stage));

 see also Moss v. Crawford & Co., 201 F.R.D. 398, 410 (W.D. Pa. 2000) (“[V]ariations in the

 plaintiffs’ duties, job locations and hourly billing rates do not differentiate the collective class to

 the extent that it defeats the primary objectives of a section 216(b) action.”).

        Through the allegations in the Complaint, the Answers to Court Interrogatories, the

 Deposition Transcripts and Affidavits, the Plaintiffs have provided more than ample evidence to

 warrant conditional certification and court supervised notice of this lawsuit to be sent all former

 and present “Analysts” employed by Defendant. Accordingly, Plaintiff’s Motion should be

 granted at this time.


 III.   Plaintiff’s Notice Should be Posted at All Hartford Locations

        Plaintiffs’ proposed judicial notice is “timely, accurate, and informative.” See Hoffman-

 La Roche, 493 U.S. at 172. See attached Notice of Collective Action and Declaration of Consent

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 to Join as Composite Exhibit A. Plaintiff also requests that, in addition to permitting Plaintiff to

 notify the potential Class members by U.S. Mail and Email, that this notice be posted at each of

 Defendant’s locations across the United States to further the broad remedial purpose of the

 FLSA. See Romero v. Producers Dairy Foods, Inc., 235 F.R.D. 474, 493 (E.D. Cal. Apr. 19,

 2006) (finding that first class mail, combined with posting provided for the “best notice

 practicable” to the potential class); Veliz v. Cintas Corp., 2004 WL 2623909, at *2 (N.D. Cal.

 Nov. 12, 2004) (requiring employer to post notice and consent forms in all of its work sites);

 Johnson v. Am. Airlines, Inc., 531 F. Supp. 957, 961 (N.D. Tex. 1982) (finding direct mail and

 posting on company bulletin boards reasonable).

 IV.     Defendant Must Produce Names and Addresses of The Class

         The opt-in provisions of the FLSA require a procedure for identifying and notifying

 potential class members. Morden v. T-Mobile USA, Inc., 2006 WL 1727987, at *3 (W.D. Wash.

 June 22, 2006) (compelling the defendant to produce the names and addresses of potentially

 similarly situated employees despite the fact that no conditional class certification motion was

 pending before the court). As such, discovery of a mailing list is routinely disclosed in FLSA

 collective actions because the lists are necessary to facilitate notice. See Hoffman-La Roche, 493

 U.S. at 165; See also Dietrich v. Liberty Square, 230 F.R.D. 574, 581 (N.D. Iowa 2005); Gieseke

 v. First Horizon Home Loan Corp., 408 F. Supp. 2d 1164, 1169 (D. Kan. Jan. 10, 2006).8 Thus,

 if Plaintiffs’ Motion is granted, the Defendant should likewise be ordered to provide Plaintiffs




 8
   The names and addresses of potential class members are discoverable during the regular course of discovery even
 absent judicial notice because current and formers servers/bartenders are critical fact witnesses to this lawsuit.
 Hoffman-La Roche acknowledged the existence of “alternative bases for the discovery, for instance that the
 employees might have knowledge of other discoverable matter.” 493 U.S. at 160; see also Barton v. The Pantry,
 Inc., 2006 WL 2568462 (M.D.N.C. Aug. 31, 2006) (ordering defendant to produce a list of plaintiffs’ co-workers
 prior to conditional certification).

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 with a list of all putative class members’ names and addresses, including email addresses in order

 to carry out notice.

 V.     Proposed Notice

        The Notice proposed by Plaintiff is typical of notices approved many times in the Middle

 Middle District. See Composite Exhibit A. It almost mirrors the form approval in the Middle

 Middle District of Florida, case Parrilla v. Allcom, Case No.: 6:08-cv-01967-GAP-GJK at Doc.

 69. See also Simpkins v. Pulte Home Corp., 2008 WL 3927275 at p. 9 (M.D. Fla. 2008); citing

 Cox v. Appliance Direct, Inc., 6:08-cv-216-ACC-DAB, docs 66 and 69; Gutescu v. Carey Intern,

 Inc., 2003 WL 25586749 at p. 18 (S.D. Fla. 2003) (similar notice form issued). Included in the

 notice is a basic statement of the law against retaliation by an employer if a putative plaintiff

 joins the case. Id. In addition, there does not have to be any statement in the notice concerning a

 potential Plaintiffs’ liability for costs. See Littlefield v. Dealer Warranty Services, LLC, 2010

 WL 173796 (E.D. Mo. Jan. 15, 2010) (denying Defendant’s request that the notice inform

 potential plaintiffs of the possible costs they might incur by joining the lawsuit, because it might

 discourage plaintiffs from joining the litigation).

        Finally, the overwhelming majority of Courts use a 3 year statute of limitations period

 because whether there is a willful or reckless violation will not likely be decided until trial. See

 Simpkins v. Pulte Home Corp., 2008 WL 3927275 at p. 9 (M.D. Fla. 2008) (the determination

 whether that standard is met in this case is fact determinative and will not be made at the

 conditional certification stage). Plaintiffs have sufficiently alleged in their Complaint that a

 willful violation has occurred to warrant reference to the FLSA’s three-year statute of

 limitations. See Longcrier v. HL-A Co., Inc., 595 F. Supp. 2d 1218, 1242 (S.D. Ala. 2008)

 (approving 3-year statute of limitations in a court-facilitated notice when the plaintiffs



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 adequately alleged willfulness); see also Cryer v. Intersolutions, Inc., No. 06-2032, 2007 WL

 1053214, at *3 (D.D.C. Apr. 7, 2007) (applying 3 year sol applicable for defining class period in

 court-facilitated notice where plaintiff alleged willful conduct). Where Plaintiff has alleged a

 willful violation, however, “it is prudent to certify a broader class of plaintiffs that can be limited

 subsequently, if appropriate, during the second phase of the collective certification process.”

 Anglada v. Linens ‘N Things, Inc., No. 06-CV-12901, 2007 WL 1552511, at *8 (S.D.N.Y. May

 29, 2007).

 VI.    Conclusion

        Plaintiffs have met their burden to conditionally certify the collective class of Analysts

 and to facilitate notice to putative collective class members. Accordingly, Plaintiffs respectfully

 request that this Court conditionally certify the proposed collective class and permit notice to all

 current and former Analysts of Hartford’s employed in the preceding three (3) years through the

 present on a National scale because of Defendant’s improper practices and policies.

                                    Local Rule 3.01(g) Conferral

         Pursuant to Local Rule 3.01(g), unlike other motions, undersigned counsel is not

 required to confer with opposing counsel in a good faith attempt to resolve this collective action

 motion by agreement prior to its filing. Despite not having to confer, Plaintiffs’ counsel did

 confer in good faith, and Defendant’s counsel has stated that Defendant opposes this Motion on

 the basis that it is untimely. Plaintiff respectfully disagrees as set forth previously discussed on

 page 2 of this Motion.

        WHEREFORE, for the reasons more fully discussed in the incorporated Memorandum

 in Support, Plaintiffs request this Court to:




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            a)     recognize this matter as a collective action under §216(b) of the FLSA and

 conditionally certify this as a National Collective Class;

            b)     enter an Order permitting notification to all similarly situated individuals of the

 pendency of this action and of their statutory right to opt-in to this action and to become a party;

            c)     enter an Order requiring Defendant to produce the names, addresses, telephone

 numbers and emails of all former and present Analysts9 as well as those who were employed

 within the 3 years prior to the filing of the Complaint up to trial;

            d)     enter an Order permitting the proposed “Notice to Consent to Join” form be sent

 to all similarly situated individuals to complete, sign, and file with the Court within sixty (60)

 days of receipt of the list of all similarly situated individuals from Defendant, and appoint

 LYTLE & BARSZCZ as the Class Representative10 with authority to negotiate on behalf of the

 class.11

            Date: April 17, 2015                         Respectfully submitted,

                                                         /s/ Mary E. Lytle
                                                         Mary E. Lytle, Esquire
                                                         Florida Bar No. 0007950
                                                         David V. Barszcz, Esquire
                                                         Florida Bar No. 0750581
                                                         W. Robert Sherry, Esquire
                                                         Florida Bar No. 0497258
                                                         LYTLE & BARSZCZ
                                                         543 North Wymore Road

 9
    Defendant has used shifting titles for these positions and has changed the names of these positions; however,
 Plaintiffs believe the positions set forth in Footnote #2 cover all of the positions of individuals similarly situated and
 who were and/are owed overtime given the different titles encompassed by the Plaintiffs and Opt-in Plaintiffs in this
 action, and the deposition testimony that these titles have been continuously shifted by Defendant despite the job
 duties and responsibilities staying the same.
 10
    See Espanol v. Avis Budget Car Rental, LLC, 2011 U.S. Dist. LEXIS 120485, 4-5 (M.D. Fla. Oct. 18, 2011), in
 which the Honorable James Moody granted collective certification to a class of Shift Managers and appointed
 Bernar Espanol as the Class Representative to facilitate negotiations and enter into a proposed settlement on behalf
 of the class opt-ins.
 11
    The Court will be asked to approve any settlement under Lynn’s Food Stores v. United States, 679 F.2d 1350
 (11th Cir. 1982) and attorney’s fees. See Torrisi v. Tucson Elc. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993)
 (attorneys’ fees are recoverable as a proportion of the class recovery under FLSA cases).

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                                              Counsel for Plaintiffs

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 17, 2015, the foregoing was electronically filed with

 the Clerk of Court by using the E-Portal system, which will send a notice of electronic filing to:

 Donald C. Works, III, Esquire, worksd@jacksonlewis.com, and David R. Golder, Esquire,

 golderd@jacksonlewis.com, JACKSON LEWIS, P.C., 390 North Orange Avenue, Suite 1285,

 Post Office Box 3389, Orlando, Florida 32802-3389.


                                              /s/ Mary E. Lytle
                                              Counsel for Plaintiffs




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